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6 UNITED STATES DISTRICT COURT
1 CENTRAL DISTRICT OF CALIFORNIA

9 |] LOLLICUP USA INC., a California corporation, | Case No.:
10 Plaintiff, COMPLAINT FOR:
11 Vs, 1) FRAUD;
12 || PRECISION BIOTECHNOLOGY CO. LTD.,a | 2) CONVERSION;
13 }{ Taiwan corporation; INTERNATIONAL 3) BREACH OF CONTRACT
14 |} PRECISION CORP.; an unknown forcign
15 || business entity; MING-KUNG YEH, an [JURY TRIAL DEMANDED]
16 |} individual; and DOUS 1 through 10, inclusive,

VW Defendants.

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Plaintiff LOLLICUP USA INC., a California corporation, by and through the
undersigned attorney, hereby complains against Defendants PRECISION BIOTI;CLIINOLOGY
CO. LD, a Taiwan corporation; INTERNATIONAL PRECISION CORP., an unknown forcign
business entity; MING-KUNG YEIL, an individual, and DOUS | through 10, inclusive,
(collectively, “Defendants’’), and alleges as follows:

SUMMARY OF THE CASE

I. This action concerns an cercegious fraudulent scheme of an individual using
interchangeable forcign business entities to swindle millions of dollars from a California
corporation and exploiting pandemic.

2. The individual defendant held himself out as a trusted public figure and used
feigned business entity to contract for sale of personal protective gear at the peak of pandemic.
Defendants never intended to deliver the goods. Indeed, Defendants had neither the resources
nor capability to manufacture the goods as necded during pandemic.

3. Upon receipt of the pre-paid contracted amount, Defendants then moved the
moncy to other non-traccable accounts and denied any connection with the contracting partics.

PARTIES, JURISDICTION AND VENUE
4, Plainuff LOLLICUP USA INC. (“Plaintiff or “LOLLICUP”) is a corporation

organized and existing under the laws of the State of California, with its principal place of
business in this judicial district, including entering into the contracts referenced in this complaint
and suffering the wrongdoing and harms described in this complaint.

5. On information and belief, Defendant PRECISION BIOTIECHIINOLOGY CO.
LTD. (PBC”) is, and at all times relevant to this Complaint was, a business entity organized and
cxisting under the laws of Taiwan, with a headquarters located in New ‘Taipei City, Taiwan.
PBC was marketed as an international conglomcrate developing anti-cancer drugs and promoting
health and safety of the world.

6. On information and belief, Defendant INTERNATIONAL PRECISION CORP.
(“IPC”) is, and at all times relevant to this Complaint was, an unregistered business entity

located in ‘Vaipei City, ‘aiwan.

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1 7. On information and belief, Defendant MING-KUNG YEH (“YEH”) was and is
2 || the officer, director, controlling sharcholder and owner of both PBC and IPC, who was
3 {{ personally responsible for oversecing, supervising, directing and/or ratifying the wrongdoing of
4 |{ the corporate defendants in ‘Taiwan.
5 8. At all times relevant herein, YEII used his various companies, including IPC and
6 || PBC, interchangeably and as altcr cgos of himself and one another.
1 9, Plaintiff is unaware of the truce names and capacities of the Defendants sued by
8 || the fictitious names, DOS 1 through 10, but allege that said fictitiously names Defendants arc
9 |] proximately responsible for the damages alleged herein. Plaintiff will seck Icave of this court to
10 |} amend this complaint when the truc names and capacities of said fictitiously named defendants
11 || have been ascertained.
12 10. Plaintiff'is informed and believe and thercon alleges, that at all times herein
13 || mentioned, Defendants and cach of them, were the agents and/or employees of cach of the
14 |) remaining Defendants, and in doing the things herein alleged, were acting within the course and
1 {| scope of said agency and/or cmployment, in that the actions of cach of the Defendants as hercin
16 || alleged were authorized, approved, and./or ratificd by cach of the other Defendants as principals
17 || and/or employers.
18 11. This Court has diversity jurisdiction over the partics pursuant to 28 U.S.C.
19 |} §$1332(a). Plainulfis a registered business in California and primarily conducts business in
20 |} California. Plaintiff also has its principal location in this Judicial District. No Defendant in this
21 || case is a citizen of the same state as Plaintiff and the amount in controversy excecds $75,000.00,
22 || exclusive of interest and costs.
23 12. This Court has personal jurisdiction over Defendants in the following respects:
24 a. Defendants have purposcly availed of protection of the laws of the State of
29 || California because this action “arise|s| out of or relate[s| to the defendants’ contacts with the

26 || forum.” /elicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 n. 8 (1984).

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b. On information and belicf, YEII solicited businesses from various companies
in California including Plaintiff between February and May of 2020. YEH’s fraudulent scheme
is continuous and ongoing, and Y}‘I] is targeting California businesses.

c. Defendants acknowledged and agreed to deliver goods to a location in this
Judicial District.

13. Venue in this judicial district is proper pursuant to 28 U.S.C. §1391(f) because
substantial part of the events giving rise to the claim occurred in this Judicial District. The
decision to purchase goods at issuc were made in this Judicial District and the goods at issuc
werc to be delivered to this Judicial District.

BACKGROUND AND GENERAL ALLEGATIONS

14. YET] had engaged in a fraudulent scheme to exploit pandemic. At all times
relevant to this Complaint, YI:H] marketed himself, on internet platforms, as the Ilead of the
Pharmaccutical Administration, Ministry of National Defense in Taiwan from 2011 to 2013, the
General Director of the Taiwan Food and Drug Administration, Ministry of Icalth and Welfare
(MOIIW) from 2013 to 2014, and a superintendent in MOITW from 2014 to 2016.

[5. In the beginning of 2020, at the peak of pandemic, when personal protective
cquipment was in high demand, YH started soliciting to various businesses, including but not
limited to various Asian businesses in California, that he could supply surgical masks, gloves,
and forchcad thermometers in great quantity and with instantancous delivery because of his
previous position with MOITW and conncction to a medical equipment manufacturer in
Thailand.

16. In or about June 2020, LLOLLICUP, through its procurement agent, responded to
YEII and expressed interest in purchasing large quantity of nitrile medical grade cxam gloves
(the “Gloves”) from YIEIL.

17. YEH provided LOLLICUP spccilications of the Gloves through his personal

email: mkyeh2004@gmail.com and company cmail: mkyeh2004@precisionthera.com.

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18. PBC’s company website is: https://precisionthera.com/ and YIIT’s picture is
shown on the company website as the chicf exccutive officer. LOLLICUP was led to belicve
that the contracting partics was PBC.

19. The specifications provided by YII] apparently match LOLLICUP’s needs and
the parties agreed on the price of $7 USD per box. In June and July of 2020, LOLLICUP
submitted four orders for a total 385,500 boxes of Gloves to YEII.

20. YE thereafter provided four proforma invoices (the “Invoices”) to LOLLICUP
confirming his reccipt of four orders. ‘he Invoices however were issued from IPC, not PBC,
IPC’s address, which was printed on the top lefi corner of the Invoices, is the same address as
PBC at the time. ‘The Invoices state that the buyer is “Iollicup USA Inc.” with an address al
“6185 Kimball Ave Chino, 91708 United States,” and IPC’s bank account information for wire
transfer was printed clearly on the top right corner. ‘he Invoices were signed by YEH as
chairman of IPC. A true and correct copy of the Invoices is attached hereto as Exhibit A.

21. YETI represented that IPC was his other company and he primarily used IPC for
international businesses.

22. On July 18, 2020, LOLLICUP wired 50% of the purchase price for the four orders
of Gloves in a total sum of $1,347,500.00 USD to the bank account as stated on the Invoices per
YII’s request.

23. According to the agreement, the first batch of the Gloves would be departed
Thailand no later than August 14, 2020, and LOLLICUP would receive the shipping document in
advance.

24. Instead of shipping documents, LOLLICUP reccived a video clip from YEII
stating that the Gloves had been packed and loaded in Thailand. In the video, blue gloves were
crammed inside several garment bags in a resembling sweat factory environment. Workers
without facemask picked up the gloves with bare hands showing the goods to the camera. It was
uncertain if the gloves had been through the sterilization process and the goods apparently were
recycled from other sources. LOLLICUP immediately averred that medical grade gloves should

not be packed in such unorganized fashion and insanitary condition.

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25. LOLLICUP later received 31,940 boxes of gloves from YEII. ‘The gloves did not
conform with the agreed specifications and did not even mect the industry standard. LOLLICUP
timely and rightfully rejected delivery and urged YEJI to reship conforming goods.

26. As of the date of this Complaint, neither YEH nor any of YEII’s controlled
business entitics cured this default by delivering conforming goods to LOLLICUP.

27. YEII repeatedly requested for postponement to deliver the rest of the orders
ascribing to lack of materials and the changed export requirements of ‘Thailand government.

28. LOLLICUP asserted that YI:II breached the contract by failure to deliver
conforming goods by the agreed delivery date and therefore demanded full refund from YETI.

29. In his responses, Y]J1 admitted the breach and apologized for his failure to mect
the deadline. YI also agreed to fully refund LOLLICUP.

30. In the following months, YEIT continuously made promiscs to LOLLICUP that he
would deliver the Gloves at a future date disregarding his breach and LOILLICUP’s numcrous
demands for full refund.

31. On information and belief, various U.S. businesses like LMNT Accessorics LLC
and Marlott Company were also conned into paying YEII.

32. In or about November 2020, LOLLICUP and other U.S. businesses that had been
defrauded by Defendants, filed both civil and criminal claims against YI} and his controlled
companies in ‘Taiwan.

33. In answering the ‘Taiwanese complaints, YI] acknowledged the fact that [PC
reccived $1,347,500.00 USD from LOIL.LICUP but somconc had transferred most of the monics
to another account, which was owned and controlled by a third-party. YIIJI also argued that he
was not in privity with LOLLICUP because he had no connection with IPC.

34. ‘The Taiwanese court nevertheless dismissed LOLLICUP’s case citing IPC was an
unregistered company in Taiwan. ‘The court cited that there was lack of privity between YIJI or
PBC and LOLLICUP despite the plain fact that both companies were owned and controlled by
YEH.

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1 35. On information and belicf, ‘Taiwanese courts might treat YH with partiality
2 || because YETI is an influcntial person in the ‘Taiwan political system and he is well connected
3 || with several government agencics.
4 36. On information and belicf, other cases filed by certain U.S. businesses against
5 1! YEIT were also dismissed by the ‘Taiwanese court for lack of privity.
6 37. LOLLICUP thereafter filed an appeal to ‘Taiwan higher court, but the case was
7 || again dismissed for lack of new evidence.
8 38. On information and belief, YI was and is dishonest in his conduct of business,
9 || incompetent and incapable to supply conforming goods to the U.S. buyers, and that YEIT is
10 || targeting various businesses in California selling defective goods or producing non-shipment of
11 {| goods after receipt of prepayment.
12 39. As a direct and proximate result of YEII’s breach of contract and fraudulent
13 || activitics as described herein, LOLLICUP has suffered and will continuc to suffer significant
14 || damages.
1b 40. Among other things, LOLLICUP is entitled to receive full refund of the deposit
16 || for the four orders, as well as interest on the paid amount.
Vy 41. Among other things, LOLLICUP is entitled to reccive its attorney {ces incurred in
18 {jcnforcing the rights to enforce the contract entered by and between LLOLLICUP and YEII and his
19 || companics because such fees are a foresecable consequence of YEH ’s breach and fraudulent

20 || activities.

21 FIRST CAUSE OF ACTION — FRAUD
22 (AGAINST ALL DEFENDANTS)
23 42. LOLLICUP realleges and incorporates by reference the allegations of cach of the

24 || other paragraphs set forth in this Complaint.

a5 43. In or about June 2020, YEH, acting on behalf of himself and the corporate

26 || defendants, falscly represented to LOL LICUP’s procuring agent that he was willing and able to
21 || deliver 385,500 boxes of Gloves to LOLLICUP’s location in California, on a price and terms,

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provided, however, LOJ.LICUP would be required to wire at Icast 50% of the contracted price as
prepayment,

44, That statement was false and was intended to induce detrimental rcliance because
YEH knew or should have known that he did not have the Gloves or the capacity to cause the
Gloves manufactured in the specifications required by LOLLICUP.

45, Instead, on information and belicf, at the time of the supposed promise, YI]
planned to take the funds remitted from LOLLICUP for his personal uscs.

46.‘ Thereaficr, instead of delivering shipment of conforming goods as promised,
YEH shipped the non-sterile vinyl gloves to LOLLICUP knowing that the gloves did not
conform to the orders.

47. By the end of August 2020, the agreed delivery date had passed and YEII had
breached the contract by failure to deliver goods as promised.

48. Plaintiff demanded YEH refund the prepaid $1,347,500.00 USD. YE falsely
represented that he would issuc a refund because YH intended to mislead Plaintiff by getting
more lime to move the funds to another account.

49. Plaintiff, in reliance on YEIH’s promise of a full refund, did not immediately take

further action to pursuc claims against Defendants.

50. Subsequently, Plaintiff discovered that YII[ had no intent to honor that promise
cither.
51. On information and belief, YEH thereafter wired approximately USD $1.2 million

to a third-party account. On information and belief, that third-party is an affiliate of the other
Iefendants and a co-conspirator in their fraud.

52. Because YI] 1 acted willfully, wantonly, and fraudulently, with malice and
reckless and or conscious disregard for Plaintiffs rights, and because cach individual defendant
acted with the express approval and/or ratification of the corporate defendants, Plaintiff is
entitled to an award of punitive damages against all Defendants.

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SECOND CAUSE OF ACTION — CONVERSION
(AGAINST ALL DEFENDANTS)

53. LOLLICUP realleges and incorporates by reference the allegations of cach of the
other paragraphs set forth in this Complaint.

54. Defendants demanded prepayment for the orders and obtained a wire transfer
from Plaintiff in the amount of $1,347,500.00 USD under false pretenses.

55. Defendants intentionally delivered non-conforming goods and produced non-
shipment of conforming goods to Plaintiff. Defendants’ conduct was intentional.

56. Plaintiff has demanded that Defendants return the $1,347,500.00 USD taken
wrongfully.

57. Defendants transferred approximately $1.2 million USD to a third party affiliate
of theirs, without Plaintiffs knowledge, authorization, approval, or ratification.

58. Plaintiff was damaged in an amount to be proven at trial, at least $1,347,500.00
USD and in no event less than the jurisdictional amount.

THIRD CAUSE OF ACTION — BREACH OF CONTRACT

(AGAINST ALL DEFENDANTS)

59, LOLLICUP realleges and incorporates by reference the allegations of cach of the
other paragraphs sct forth in this Complaint.

60. In or about June of 2020, Plaintiff entered into oral, written and implied
agreement with Defendants (“Agreement”), as evidenced by the Invoices provided by
Defendants.

61. Under the terms of this Agreement, as demanded by Defendants, Plaintiff was
required to make, at least 50% of the contracted price, prepayment in exchange for 385,500
boxes of nitrile medical grade exam gloves to be delivered on a set schedule to California, USA.

62. From June 25, 2020 through July 18, 2020, Plaintiff complicd with the
prepayment terms by wiring a total sum of $1,347,500.00 USD from United States to an account
in Chang Ilwa Commercial Bank in ‘Taiwan as instructed by Defendants.

63. Plaintiff never reccived any nitrile medical grade exam gloves from Defendants.

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64. — Plaintiff performed all conditions, covenants and promises in accordance with the
terms and conditions of the Agreement. ‘lo the extent any covenants and/or conditions have not
been performed by Plaintiff, they have been excused by breach or non-performance by
Defendants.

65. Defendants breached the Agreement because nothing was delivered to Plaintiff
despite the Agreement.

66. As a direct and proximate result of Defendants’ breaches, Plaintiff has sustained
and will continue to sustain damages in an amount subject to proof at trial, together with
prejudgment interest thercon at the maximum legal rate.

PRAYER FOR RELIEF

WHEREFORE, LOLLICUP prays for judgment against Defendants as follows:

I. Order Defendants to disgorge all funds received from the contract together with
prejudgment interest thercon.

2, Order Defendants to pay for the punitive and exemplary damages duc to their
unlawful conduct available in law and according to proof at trial.

3. Order Defendants to pay for reasonable attorneys’ {ecs to the extent allowed by
law and for costs of suit incurred.

dt, Retain jurisdiction of this action in accordance with the principles of equity and
the Federal Rules of Civil Procedure in order to implement and carry out the terms of all orders
and deerces that may be entered, or to entertain any suitable application or motion for additional
relicf within the jurisdiction of this Court.

5. Grant such other and further relicf as this Court may determine to be just and

necessary.
Dated: March 14, 2024

By:

Roland Au
Attorneys for Plaintiff
LOLLICUP USA INC.

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial on all causes of action so triable.

Dated: March 14, 2024

Roland Au
Attorneys for Plaintiff
LOLLICUP USA INC.

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